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 4                                  UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6                                                   ***
 7    UNITED STATES OF AMERICA,                               Case No. 2:16-cr-00046-PAL-GMN
 8                                           Plaintiff,                    ORDER
              v.
 9                                                                (Mot. Sever – ECF No. 470)
      JASON D. WOODS,
10
                                          Defendant.
11

12           Before the court is Defendant Jason Woods’ (“Woods”) Motion to Sever (ECF No. 470)
13   which was referred to the undersigned pursuant to 28 U.S.C. § 636(b)(1)(A) and LR IB 1-3. The
14   court has considered the motion, the Government’s Response (ECF No. 514), Woods’ Reply (ECF
15   No. 539), the Government’s Motion to Supplement its Response (ECF No. 971), and Woods
16   Response (ECF No. 1054).
17                                           BACKGROUND
18      I.         The Indictment
19           Defendant Woods and 18 co-defendants are charged in a Superseding Indictment (ECF No.
20   27) returned March 2, 2016. Woods is charged in 11 counts with:
21          Count One – Conspiracy to commit an offense against the United States in violation of 18
             U.S.C. § 371. This charge arises from conduct that allegedly occurred sometime between
22           March of 2014 and March 2, 2016.
23          Count Two – Conspiracy to impede or injure a federal officer in violation of 18 U.S.C.
             § 372. This charge arises from conduct that allegedly occurred sometime between March
24           of 2014 and March 2, 2016.
25          Count Three – Use and carry of a firearm in relation to a crime of violence in violation of
             18 U.S.C. § 924(c) and § 2. This charge arises from conduct that allegedly occurred
26           sometime between March of 2014 and March 2, 2016.
27          Count Five – Assault on a federal officer in violation of 18 U.S.C. § 111(a)(1), (b) and§ 2.
             This charge arises from conduct that allegedly occurred on April 12, 2014.
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 1         Count Six – Use and carry of a firearm in relation to a crime of violence in violation of 18
            U.S.C. § 924(c) and § 2. This charge arises from conduct that allegedly occurred on April
 2          12, 2014.
 3         Count Eight – Threatening a federal law enforcement officer in violation of 18 U.S.C.
            § 115(a)(1)(B) and § 2. This charge arises from conduct that allegedly occurred on April
 4          12, 2014.
 5         Count Nine – Use and carry of a firearm in relation to a crime of violence in violation of
            18 U.S.C. § 924(c) and § 2. This charge arises from conduct that allegedly occurred on
 6          April 12, 2014.
 7         Count Twelve – Obstruction of the due administration of justice in violation of 18 U.S.C.
            § 1503 and § 2. This charge arises from conduct that allegedly occurred on April 12, 2014.
 8
           Count Fourteen – Interference with interstate commerce by extortion in violation of 18
 9          U.S.C. § 1951 and § 2. This charge arises from conduct that allegedly on April 12, 2014.
10         Count Fifteen – Use and carry of a firearm in relation to a crime of violence in violation of
            18 U.S.C. § 924(c) and § 2. This charge arises from conduct that allegedly occurred on
11          April 12, 2014.
12         Count Sixteen – Interstate travel in aid of extortion in violation of 18 U.S.C. § 1952 and
            § 2. This charge arises from conduct that allegedly occurred sometime between April 5,
13          2014 and April 12, 2016.
14

15          The Superseding Indictment (ECF No. 27) in this case arises out of a series of events

16   related to a Bureau of Land Management (“BLM”) impoundment of Cliven Bundy’s cattle

17   following a two-decade-long battle with the federal government. Beginning in 1993, Cliven

18   Bundy continued to graze cattle on land commonly referred to as the “Bunkerville Allotment”

19   without paying required grazing fees or obtaining required permits. The United States initiated

20   civil litigation against Cliven Bundy in 1998 in the United States District Court for the District of

21   Nevada. The court found that Cliven Bundy had engaged in unauthorized and unlawful grazing

22   of his livestock on property owned by the United States and administered by the Department of

23   the Interior through the BLM. The court permanently enjoined Cliven Bundy from grazing his

24   livestock on the Allotment, ordered him to remove them, and authorized the BLM to impound any

25   unauthorized cattle. Bundy did not remove his cattle or comply with the court’s order and

26   injunction. The United States went back to court. Subsequent orders were entered in 1999 and

27   2013 by different judges in this district permanently enjoining Bundy from trespassing on the

28   Allotment and land administered by the National Park Service (“NPS”) in the Lake Mead National
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 1   Recreation Area1, ordering Bundy to remove his cattle, and explicitly authorizing the United States

 2   to seize, remove, and impound any of Bundy’s cattle for future trespasses, provided that written

 3   notice was given to Bundy.

 4          On February 17, 2014, the BLM entered into a contract with a civilian contractor in Utah

 5   to round up and gather Bundy’s trespass cattle. BLM developed an impoundment plan to establish

 6   a base of operations on public lands near Bunkerville, Nevada, about 7 miles from the Bundy ranch

 7   in an area commonly referred to as the Toquop Wash. On March 20, 2014, BLM also entered into

 8   a contract with an auctioneer in Utah who was to sell impounded cattle at a public sale. Bundy

 9   was formally notified that impoundment operations would take place on March 14, 2014. The

10   following day, Bundy allegedly threatened to interfere with the impoundment operation by stating

11   publicly that he was “ready to do battle” with the BLM, and would “do whatever it takes” to protect

12   “his property.” The superseding indictment alleges that after being notified that BLM intended to

13   impound his cattle, Bundy began to threaten to interfere with the impoundment operation, and

14   made public statements he intended to organize people to come to Nevada in a “range war” with

15   BLM and would do whatever it took to protect his cattle and property.

16          The superseding indictment alleges that, beginning in March 2014, the 19 defendants

17   charged in this case planned, organized, conspired, led and/or participated as followers and

18   gunmen in a massive armed assault against federal law enforcement officers to threaten, intimidate,

19   and extort the officers into abandoning approximately 400 head of cattle owned by Cliven Bundy.

20   The removal and impoundment operation began on April 5, 2014. On April 12, 2014, defendants

21   and hundreds of recruited “followers” executed a plan to recover the cattle by force, threats, and

22   intimidation. Defendants and their followers demanded that officers leave and abandon the cattle

23   and threatened to use force if the officers did not do so. The superseding indictment alleges armed

24   gunmen took sniper positions behind concrete barriers and aimed their assault rifles at the officers.

25   Defendants and their followers outnumbered the officers by more than 4 to 1, and the potential

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      By 2012, Bundy’s cattle had multiplied and he also began grazing his cattle on land administered by the
28   NPS in the Lake Mead National Recreation Area without obtaining grazing permits or paying grazing fees.
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 1   firefight posed a threat to the lives of the officers, as well as unarmed bystanders which included

 2   children. Thus, the officers were forced to leave and abandon the impounded cattle.

 3            After the April 12, 2014 confrontation with federal officers, the superseding indictment

 4   alleges that the leaders and organizers of the conspiracy organized armed security patrols and

 5   check points in and around Cliven Bundy’s Bunkerville ranch to deter and prevent any future law

 6   enforcement actions against Bundy or his co-conspirators, and to protect Bundy’s cattle from

 7   future law enforcement actions.

 8      II.      Procedural History

 9            Woods was initially arrested on March 3, 2016, in the District of Arizona on a Superseding

10   Indictment (ECF No. 27) returned March 2, 2016 and warrant issued in this district. All 19

11   defendants made their appearances in this case in this district between March 4, 2016, and April

12   15, 2016. At the initial appearance of each defendant, the government stated its position that this

13   was a complex case that would require special scheduling review. All 19 defendants are currently

14   joined for trial pursuant to the provisions of the Speedy Trial Act. All 19 defendants have been

15   detained pending trial.

16            In an Order (ECF No. 198) entered March 25, 2016, the court directed the parties to meet

17   and confer as required by LCR 16-1 to discuss whether this case should be designated as complex,

18   and, if so, to attempt to arrive at an agreed-upon complex scheduling order addressing five

19   specified topics for discussion. The order gave the parties until April 18, 2016, to file a stipulated

20   proposed complex case schedule if all parties were able to agree, or if they were not, to file a

21   proposed schedule with supporting points and authorities stating each party’s position with respect

22   to whether or not the case should be designated as complex, a proposed schedule for discovery,

23   pretrial motions, and trial, and any exclusions of time deemed appropriate under 18 U.S.C. § 3161.

24            A Proposed Complex Case Schedule (ECF No. 270) was filed on April 18, 2016. In it, the

25   government and 13 of the 19 defendants agreed that the case should be designated as complex.

26   The 13 defendants who stipulated to the proposed schedule included: Cliven Bundy, Mel Bundy,

27   Dave Bundy, Blaine Cooper, Gerald Delemus, O. Scott Drexler, Richard Lovelien, Steven Stewart,

28   Todd Engel, Gregory Burleson, Joseph O’Shaughnessy, Micah McGuire and Jason Woods. Three
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 1   defendants, Ammon Bundy, Peter Santilli, and Brian Cavalier, indicated that they would “defer

 2   the decision to agree or disagree, pending further consultation with counsel and/or have taken no

 3   position as to the filing of this pleading.” Three defendants, Ryan Bundy, Eric Parker, and Ryan

 4   Payne, disagreed that the case should be designated as a complex case “to the extent time is

 5   excluded under the STA.”

 6          The same 13 defendants who initially stipulated that the case should be designated as

 7   complex, agreed that the May 2, 2016 trial date should be vacated, and that the trial in this matter

 8   should be set on the first available trial track beginning “in or around February 2017.” Three

 9   defendants, Ammon Bundy, Peter Santilli, and Brian Cavalier, “deferred the decision to agree or

10   disagree about a trial date pending further consultation with counsel, or have not taken a position.”

11          The 13 defendants who stipulated the case should be designated as complex and a trial date

12   set in February 2017, stipulated “that all time from the entry of Defendants’ pleas in this case until

13   the trial of this matter is excluded for purposes of the STA pursuant to 18 U.S.C. § 3161(h)(7)(A)

14   as the ends of justice outweigh the interest of the public and the defendants in a speedy trial.”

15   Ammon Bundy, Peter Santilli and Brian Cavalier “deferred the decision to agree or disagree about

16   the exclusion of time, pending further consultation with counsel, or have taken no position on the

17   matter.” Ryan Bundy stated he disagreed “to the extent any exclusion of time denies him the right

18   to a speedy trial under the STA.” Eric Parker stated he disagreed “with no further position stated.”

19   Ryan Payne stated he disagreed “with the exclusion of time to the extent it denies him the right to

20   a speedy trial under the STA.”

21          The court held a scheduling and case management conference on April 22, 2016, to

22   determine whether this case should be designated as complex. Eighteen of the nineteen defendants

23   appeared with their counsel. Defendant Ryan Bundy appeared pro se with standby counsel, Angela

24   Dows. At the scheduling and case management conference on April 22, 2016, many of the

25   defendants who had initially stipulated to the complex case schedule and a February 2017 trial

26   date, changed positions. The positions of each of the defendants were stated on the record at the

27   hearing and memorialized in the court’s Case Management Order (ECF No. 321) entered April 26,

28   2016. The court found the case was a complex case within the meaning of 18 U.S.C. §
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 1   3161(h)(7)(B)(ii), and set the trial for February 6, 2017. The case management order made

 2   findings concerning why this case was deemed complex within the meaning of 18 U.S.C. §

 3   3161(h)(7)(B), and the court’s findings on exclusion of time for purposes of the Speedy Trial Act.

 4   The case management order also set deadlines for filing motions to sever, motions for filing pretrial

 5   motions and notices required by Rule 12 of the Federal Rules of Criminal Procedure2, and LR

 6   12(1)(b). No defendant filed objections to the determination that this case was complex, the court’s

 7   Speedy Trial Act tolling and exclusion findings, or any other provision of the court’s case

 8   management order.

 9         III.      The Parties’ Positions

10                A. The Motion to Sever

11                Woods argues that he was a 12-year-old boy when Cliven Bundy’s alleged trespassing

12   started on public land in 1998. Woods had no involvement with Bundy at any time prior to the

13   public demonstration in Bunkerville, Nevada on April 12, 2014, decades after Cliven Bundy’s

14   feud started with the federal government. There is no mention of Jason Woods, nor any acts

15   attributed to him related to events occurring between March 28 and April 11, 2014. The

16   superseding indictment alleges that on or about April 11 to April 12, 2014, McGuire and Woods

17   traveled from Arizona to the Bundy ranch with firearms and the intent to commit crimes set forth

18   in the superseding indictment. The superseding indictment also alleges that he and other co-

19   defendants established, organized and maintained camps to provide housing and logistical support

20   to armed gunmen who continued to travel to the Bundy ranch from April 12, 2014, to the end of

21   May 2014. However, there is no specific communication between Woods and any of the other co-

22   defendants to illustrate any kind of act in furtherance of a conspiracy. The superseding indictment

23   is “a void of any overt acts” between Woods or any of the co-defendants after the public

24   demonstration on April 12, 2014. Woods is not charged in Counts 4, 7, 10, 11 and 13.

25                To compel Wood to go to trial with Cliven Bundy and other co-defendants involved in a

26   20- year feud and events after April 12, 2014 would be so overwhelmingly prejudicial that it would

27   deprive him of fundamental fairness and due process. Woods states he was present during public

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         All references to a “Rule” or the “Rules” refer to the Federal Rules of Criminal Procedure.
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 1   demonstrations on April 12, 2014 “with possession of his unconcealed firearm” on this single day,

 2   and had no involvement with the Bundy ranch after that day. Cliven Bundy’s 20 year feud with

 3   the BLM, and his co-defendants’ roles in the 20-year long conspiracy place him in the untenable

 4   position of defending himself for his actions on April 12 “separate and apart” from the other time

 5   periods charged in the indictment. It is forseeable that the jury “will draw inculpatory conclusions”

 6   about Woods despite limiting instructions. He therefore asks for a separate trial.

 7          B. The Government’s Response

 8          The government opposes the motion arguing the crimes charged in the superseding

 9   indictment involve a continuing conspiracy to impede and interfere with federal law enforcement

10   officers. This conspiracy began in at least March 2014, and continued through March 2016, when

11   the superseding indictment was returned. The superseding indictment alleges that during the

12   course of the conspiracy, defendant Cliven Bundy led a criminal enterprise to prevent federal law

13   enforcement officers from taking actions to enforce federal court orders that required the removal

14   of his cattle that had been grazing on public lands unlawfully for more than 20 years. This

15   enterprise was conducted through threats of force and violence, actual force and violence, assault,

16   and extortion.

17          The superseding indictment alleges that Cliven Bundy began recruiting the members of the

18   conspiracy in March 2014, using social medial to call for gunmen and others to come to

19   Bunkerville, Nevada, the site of the impoundment, to physically confront, impede and interfere

20   with law enforcement officers as they were executing their duties to enforce federal court orders.

21   Ultimately, over 400 of Bundy’s followers converged on the site where the officers were

22   impounding cattle on April 12, 2014. The government claims that over 60 of Bundy’s followers

23   were either carrying, using, or brandishing firearms, including assault rifles, as they converged on

24   the gate and blocked the entrance to the impoundment site which was guarded by approximately

25   40 law enforcement officers. The government also maintains that the conspiracy continued after

26   April 12, 2014, because conspirators took concerted action to protect Bundy’s cattle from future

27   impoundment and to prevent law enforcement actions against Cliven Bundy.

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 1          Cliven Bundy, along with his sons Ammon Bundy and Ryan Bundy, and co-Defendants

 2   Peter Santilli and Ryan Payne, are charged in all 16 counts of the indictment. Cliven Bundy, Ryan,

 3   Ammon, Mel, and Dave Bundy are alleged to be leaders and organizers of the conspiracy along

 4   with co-Defendants Ryan Payne and Peter Santilli. Defendants Blaine Cooper, Brian Cavalier,

 5   Joseph O’Shaughnessy and Gerald Delemus are alleged to be mid-level leaders and organizers of

 6   the conspiracy. The remaining defendants, Eric Parker, O. Scott Drexler, Steven Stewart, Richard

 7   Lovelien, Todd Engel, Gregory Burleson, Micah McGuire and Jason Woods were gunmen.

 8          The superseding indictment alleges that Cliven Bundy was the leader, organizer, and chief

 9   beneficiary of the conspiracy who possessed ultimate authority over the scope, manner and means

10   of conspiratorial operations. He also received the economic benefits of the extortion plead in the

11   indictment.

12          The government points out that it made its initial disclosures to the defendants on May 6,

13   2016, pursuant to the court’s Case Management Order (ECF No. 321). The initial disclosures

14   included the Rule 16 statements of the defendants and other Rule 16 information and materials.

15   The government is withholding disclosure of Jencks materials until 30 days before trial because of

16   serious concerns for witness safety and security.

17          The government maintains that all of the defendants were appropriately joined for trial

18   pursuant to Fed. R. Crim. P. 8(b) and 14(a). These rules are designed to avoid multiple trials and

19   promote judicial economy and efficiency. Defendants charged together and properly joined under

20   Rule 8(b) are generally tried together. Joinder is “particularly appropriate” in a conspiracy case

21   where all of the co-defendants are members of a conspiracy. The concern for judicial efficiency

22   is less likely to be outweighed by possible prejudice to the defendants in a joint trial of a conspiracy

23   case because much of the evidence would be admissible against each defendant in separate trials.

24   Joint trials provide the jury with an ability to see the entire picture of the alleged crime, and enable

25   the jury to reach a more reliable conclusion as to the guilt or innocence of the defendants involved.

26   Joint trials also limit the burden of requiring witnesses or victims to testify on multiple occasions

27   in separate trials and avoid “randomly favoring the last-tried defendants who have the advantage

28   of knowing the prosecution’s case beforehand.”
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 1           The government cites United States Supreme Court and Ninth Circuit authority holding

 2   that a party seeking severance must show unusual circumstances in which a joint trial would be

 3   “manifestly prejudicial” to warrant severance. This is a high standard which can be met if a

 4   defendant demonstrates that his specific trial rights are compromised, or where a jury would be

 5   unable to reach a reliable verdict without severance. It requires a showing that a joint trial would

 6   be so prejudicial that it would deprive the defendant of a fair trial. A showing that jointly charged

 7   defendants have varying degrees of culpability or that there is an improved possibility of acquittal

 8   in a separate trial is insufficient to warrant severance.

 9           In this case, the government argues, Woods has failed to demonstrate any prejudice, let

10   alone manifest prejudice would result from a joint trial. The government characterizes this as a

11   “paradigm case for joinder.” Woods is charged as a gunman and co-conspirator of a conspiracy

12   where 18 of 19 defendants charged were present in the same place and at the same time, for the

13   same purpose which was to assault and extort law enforcement officers and obtain Cliven Bundy’s

14   impounded cattle. Woods has failed to make the required showing needed for severance and the

15   court should therefore deny the motion.

16           C. Woods’ Reply

17           The reply argues severance is likely necessary because of the variance in culpability among

18   the co-defendants. It also asks for leave to supplement after he has had an opportunity to review

19   voluminous discovery believing he might be able to identify specific discovery inadmissible as to

20   him.

21           D. The Government’s Supplemental Response

22           The Government’s Motion to “Supplement” (ECF No. 971) acknowledges that the

23   government filed oppositions to each of the defendants’ severance motions, arguing that the nature

24   of the allegations and charges made this case appropriate for joinder and that defendants had not

25   shown a joint trial would manifestly prejudice them. Id. at 6. The governments’ responses

26   objected to individual trials, and did not propose an alternative to a single 19-defendant trial.3 Id.

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       Two of the 19 defendants, Gerald A. DeLemus and Blaine Cooper, have now resolved their cases by
28   entering guilty pleas.
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 1   The government states it took this position because, when it filed its oppositions to the motions to

 2   sever, it was unclear whether all of the defendants would be available for the February 2017 trial

 3   as a number of defendants were also charged in the District of Oregon and awaiting trial. The

 4   charges against the defendants who were also charged in the District of Oregon have now been

 5   resolved, and all of the remaining 17 defendants will be available for the trial set in February 2017.

 6   The government has concluded that there is little likelihood that any more defendants will resolve

 7   their case short of trial. The government therefore seeks leave to submit a supplemental response

 8   to defendants’ severance motions and its own request and proposal for severance.

 9          The government now argues the court should exercise its inherent authority to manage its

10   docket and order severance because a joint trial of all 17 remaining defendants would unreasonably

11   increase the amount of time it takes to try all defendants, result in greater delay, confusion and

12   difficulty in maintaining an orderly and efficient proceeding. It seeks to align defendants into

13   proposed groupings of three-tiers for three separate trials:

14         Tier 1 – Leaders and Organizers: Defendants Cliven Bundy, Ryan Bundy, Ammon

15          Bundy, Peter Santilli, and Ryan Payne.

16         Tier 2 – Mid-level Leaders and Organizers and Follower-Gunmen: Defendants Dave

17          Bundy, Mel Bundy, Joseph O’Shaughnessy, Brian Cavalier, Jason Woods and Micah

18          McGuire.

19         Tier 3 – Follower-Gunmen: Defendants Ricky Lovelien, Todd Engel, Gregory Burleson,

20          Eric Parker, O. Scott Drexler, and Steven Stewart.

21          Citing United States v. Taylor-Prigge, 830 F.3d 1094, 1098 (9th Cir. 2016) and United

22   States v. Mancuso, 130 F.R.D. 128, 130 (D. Nev. 1990), the United States argues that severance is

23   justified where a joint trial would cause manifest prejudice, or irrespective of prejudice, interfere

24   with the court’s inherent authority to manage its docket, or both. The government continues to

25   maintain that there would be “no material prejudice attached to the joinder of the defendants here

26   because the charged offenses all arise from a common nucleus of operative fact, and because there

27   is no serious risk of prejudicial ‘spillover’ of otherwise admissible evidence.” However, the

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 1   government now seeks severance under the second Mancuso factor to allow the district court to

 2   control its docket.

 3          The government argues that a single 17-defendant jury trial, which none of the defendants

 4   initially requested, would unreasonably increase the time it takes to try all of the defendants, result

 5   in a greater risk of delay, confusion, and difficulty in maintaining an orderly and efficient

 6   proceeding.    The government estimates that a 17-defendant trial would, under the best

 7   circumstances, likely take between 4 and 6 months to complete, and require the government to call

 8   between 60 and 75 witnesses. Cross-examination of each of these witnesses by 17 separate defense

 9   counsel would unreasonably extend the length of the trial. Additionally, a joint trial would likely

10   result in delays based on scheduling difficulties and conflicts attendant to so large a number of

11   defendants and their counsel. Under these circumstances, the court may exercise its inherent

12   powers to fashion efficient, smaller trials from an otherwise unwieldly, mass, joint trial.

13          The government continues to maintain that 17 separate trials would also unreasonably

14   increase the total time required to try all defendants. The government estimates that individual

15   trials would take a minimum of 3 to 4 weeks each, requiring the government to call from 30 to 45

16   witnesses to present its case-in-chief for each of the 17 trials, and potentially 17 months to

17   complete all 17 trials. More importantly to the government, separate trials will unreasonably

18   subject victims to being “re-victimized time and again as they are forced to retell the violence and

19   threats of death and bodily injury they faced on April 12, 2014.” The government therefore

20   submits its 3-tier severance plan is an attempt to strike a reasonable balance between these two

21   otherwise unreasonable alternatives.

22          The government argues that its 3-tier proposal groups the defendants in a way that

23   “conforms conceptually to their roles in the conspiracy and aligns with the evidence the

24   government anticipates offering at trial.” The defendants in Tier 1 are the leaders and organizers

25   who were involved in most, or all of the critical events leading to the April 12, 2014 assault. This

26   includes the March 28, 2014 blocking of the BLM convoy; the April 2, 2014 threats and

27   interference with the Utah auction barn; the April 8, 9, and 10, 2014 calls to arms; the April 9,

28   2014 “ambush” of the BLM convoy; the April 9, 2014 threats and interference with the Utah
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 1   auction barn, the April 11, 2014 threat against the impoundment special agent in charge; and the

 2   April 12, 2014 assault.

 3           The same is not true of the Tier 3 defendants who are identified as follower-gunmen, whose

 4   involvement in the conspiracy is restricted more to their actions during the assault on April 12,

 5   2014. Similarly, the Tier 2 defendants are identified as mid-level leaders and organizers whose

 6   leadership roles involve their “actions on the ground during the April 12, 2014 assault, and less by

 7   their pre-assault activities.”

 8           The government expects that at a trial of the Tier 1 defendants, it would offer more

 9   evidence of the details of the broader conspiracy and the defendants’ leadership roles in the

10   conspiracy. While evidence of the broader conspiracy is equally admissible against Tier 2 and 3

11   defendants, in separate trials, the government would offer this evidence in summary, rather than

12   in detailed form, simply to provide context for the events of April 12, 2014.

13           The government indicates it is likely to offer more evidence regarding the details of

14   individual movements of Tier 2 and 3 defendants through the wash and over the bridges during

15   the assault to demonstrate their concert of action and intent. By contrast, a trial of the Tier 1

16   defendants would focus less on the individual movements of the gunmen and on-the-ground

17   leaders, and more on the mass movements of the followers against the BLM position. These

18   examples point out the efficiencies that would be gained through a tiered trial presentation of the

19   3 proposed groupings.

20           The government proposes that the cases be tried seriatim, i.e., three trials with intervals of

21   4 to 6 weeks between each trial. The government has proposed the tiers because the Tier 1

22   defendants have the most involvement in the broader conspiracy and therefore, greater culpability

23   and responsibility for the actions charged on April 12, 2014. To invert the order would produce

24   “the anomalous and less fair result of trying less culpable actors before the more culpable ones.”

25           The government anticipates that some of the defendants who are not in Tier 2 or 3 may

26   demand that they be tried following other defendants suddenly complaining that they are not ready

27   for trial in February 2017. If these arguments are made, the government will respond, but argues

28   that the defendant should not be allowed to “game the order of the proposed trials using the speedy
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 1   trial act”, or through seeking a continuance to accommodate late-in-the-game trial preparation.

 2   With respect to the defendants’ anticipated speedy trial arguments, the government cites U.S.C. §

 3   3161(h)(7)(B)(ii) which gives the court authority to exclude time on its own motion where the case

 4   is “so unusual or complex due to the number of defendants.”

 5            E. Woods’ Response

 6            Woods’ response emphasizes that he has been in continuous detention since March 3, 2016,

 7   when he was arrested. Cliven Bundy has been in a feud with the government since 1998, when

 8   Woods was a 12-year-old boy. Cliven Bundy has been in defiance of federal court orders tied to

 9   this case for 20 years. Woods has not. His limited actions in this case involve traveling to Nevada

10   on April 11, 2014, and being at a public demonstration. He stayed for less than 24 hours, and left

11   on April 12, 2014. This demonstrates the government is overreaching as it pertains to him.

12   Although he will suffer extreme prejudice if tried in the same group as Cliven Bundy, the prospect

13   of a delay in the February 6, 2017 trial date is unacceptable to him. The government proposes that

14   he be tried in Tier 2 with an anticipated trial date of May 2017. This will deprive Woods of his

15   right to a speedy trial. Although Woods would prefer not to be tried with Cliven Bundy, the toll

16   that incarceration is taking on him puts him in the untenable position of settling for joinder with

17   Cliven Bundy in the first tier so he does not have to languish another three to four months, and

18   possibly longer. He fears that he will face another delay if complications arise in the first tier trial,

19   which will cause a continuance of the May 2017 proposed trial date.

20                                               DISCUSSION

21       I.        Applicable Law

22            A.      Rule 8(a): Joinder

23            Rule 8 permits joinder of offenses or defendants in the same criminal indictment. Rule

24   8(a) allows for joinder of multiple offenses against a single defendant if the offenses are: (i) of the

25   same or similar character; (ii) based on the same act or transaction; or (iii) connected with or

26   constituting parts of a common scheme or plan. Fed. R. Crim. P. 8(a); see also United States v.

27   Prigge, 830 F.3d 1094, 1098 (9th Cir. 2016). Rule 8 has been broadly construed in favor of joinder.

28   See, e.g., United States v. Lane, 474 U.S. 438, 449 (1986); United States v. Jawara, 474 F.3d 565,
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 1   572 (9th Cir. 2006). The public has a substantial interest in joint trials because they conserve

 2   government funds, minimize inconvenience to witnesses and public authorities, and avoid delays

 3   in bringing a defendant to trial. United States v. Washington, 887 F. Supp. 2d 1077, 1107 (D.

 4   Mont. 2012) (quoting United States v. Camacho, 528 F.2d 464, 470 (9th Cir. 1976)). Misjoinder

 5   of charges under Rule 8(a) is a question of law reviewed de novo. Jawara, 474 F.3d at 572 (citing

 6   United States v. Terry, 911 F.2d 272, 276 (9th Cir. 1990)).

 7          Generally, a valid basis for joinder must be discernible from the face of the indictment.

 8   Jawara, 474 F.3d at 572–73 (citing United States v. VonWillie, 59 F.3d 922, 929 (9th Cir. 1995);

 9   Terry, 911 F.2d at 276). Mere factual similarity between the events is not a sufficient basis for

10   joinder. United States v. Vasquez-Velasco, 15 F.3d 833, 843 (9th Cir. 1994) (interpreting Rule

11   8(b) governing joinder of two or more defendants in the same indictment). However, the term

12   “transaction” is interpreted flexibly, and determining whether a “series” exists depends on whether

13   there is a “logical relationship” between the transactions. Id. “A logical relationship is typically

14   shown by the existence of a common plan, scheme, or conspiracy.” Id. at 844 (internal citations

15   omitted). A logical relationship may also be shown if the common activity constitutes a substantial

16   portion of the proof of the joined charges. Id.

17          B.      Rule 14: Severance

18          Rule 14 governs the severance of both defendants and charges. Id. at 845. Even where

19   joinder is proper under Rule 8(a), the court may order separate trials of counts or provide other

20   relief that justice requires if joinder “appears to prejudice a defendant or the government.” Fed.

21   R. Crim. P. 14(a). The court’s power to order severance “rests within the broad discretion of the

22   District Court as an aspect of its inherent right and duty to manage its own calendar.” United

23   States v. Gay, 567 F.2d 916, 919 (9th Cir. 1978). The court’s denial of a motion to sever is

24   reviewed for abuse of discretion. Prigge, 830 F.3d at 1098.

25          The defendant seeking severance bears the burden of showing undue prejudice of such a

26   magnitude that, without severance, he will be denied a fair trial. See United States v. Jenkins, 633

27   F.3d 788, 807 (9th Cir. 2011). Prejudice may arise where: (a) the jury could confuse and cumulate

28   the evidence of one charge to another; (b) the defendant could be confounded in presenting his
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 1   defenses (i.e., where a defendant wishes to testify in his own defense on one count but not another);

 2   and (c) the jury could erroneously conclude the defendant is guilty on one charge and therefore

 3   convict him on another based on his criminal disposition. United States v. Johnson, 820 F.2d 1065,

 4   1070 (9th Cir. 1987). However, if there is a risk of prejudice, the trial court can neutralize the risk

 5   with appropriate jury instructions, and “juries are presumed to follow their instructions.” See, e.g.,

 6   Zafiro v. United States, 506 U.S. 534, 540 (1993); Vasquez-Velasco, 15 F.3d at 847 (collecting

 7   cases regarding jury instructions concerning compartmentalizing evidence and spillover

 8   prejudice); United States v. Patterson, 819 F.2d 1495, 1503 (9th Cir.1987) (severance is

 9   unnecessary when the trial court carefully instructs the jury “because the prejudicial effects of the

10   evidence of co-defendants are neutralized”).

11           Rule 14 does not require severance even if prejudice is shown; rather, the rule leaves the

12   tailoring of the relief to be granted, if any, to the district court’s sound discretion. Zafiro, 506 U.S.

13   at 538–39. The Ninth Circuit has explained that Rule 14 sets a high standard for showing prejudice

14   “because some prejudice is inherent in any joinder of defendants, if only ‘some’ prejudice is all

15   that need be shown, few, if any, multiple defendant trials could be held.” United States v. Vaccaro,

16   816 F.2d 443, 448 (9th Cir. 1987), abrogated on other grounds by Huddleston v. United States,

17   485 U.S. 681 (1988). The test for determining abuse of discretion in denying severance under

18   Rule 14 is “whether a joint trial was so manifestly prejudicial as to require the trial judge to exercise

19   his discretion in but one way, by ordering a separate trial.” Jenkins, 633 F.3d at 807 (citing United

20   States v. Decoud, 456 F.3d 996, 1008 (9th Cir. 2006)).

21           Notably, the Ninth Circuit had acknowledged that a joint trial is “particularly appropriate”

22   when defendants are charged with conspiracy. Id. (citing Zafiro, 506 U.S. at 536–37). This is so

23   “‘because the concern for judicial efficiency is less likely to be outweighed by possible prejudice

24   to the defendants when much of the evidence would be admissible against each of them in separate

25   trials’.” United States v. Boyd, 78 F. Supp. 3d 1207, 1212 (N.D. Cal. 2015) (quoting United States

26   v. Fernandez, 388 F.3d 1199, 1242 (9th Cir. 2004)).

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 1          C.      The Bruton Rule

 2          In Bruton v. United States, 391 U.S. 123 (1968), the Supreme Court held that a defendant’s

 3   Sixth Amendment right to confront and cross-examine witnesses is violated when a facially

 4   incriminating confession of a non-testifying co-Defendant is introduced at a joint trial, even if the

 5   jury is instructed to consider the confession only against the co-defendant. To violate the

 6   Confrontation Clause, the co-defendant’s confession must directly incriminate the objecting

 7   defendant. Id. at 126. However, the Supreme Court later held that “the Confrontation Clause is

 8   not violated by the admission of a non-testifying co-defendant’s confession with a proper limiting

 9   instruction when . . . the confession is redacted to eliminate not only the defendant’s name, but any

10   reference to his or her existence.” Richardson v. Marsh, 481 U.S. 200, 211 (1987). In Richardson,

11   the Supreme Court declined to extend the Bruton doctrine to “confessions incriminating by

12   connection.”@ Id. at 209.

13          A properly redacted confession of a co-defendant does not violate the Confrontation Clause

14   if the confession does not refer to the defendant. Mason v. Yarborough, 447 F.3d 693, 695–96

15   (9th Cir. 2006). However, the redacted confession may not reference the co-defendant by

16   implication, for example, by replacing a name with an obvious blank space or symbol or word

17   such as “deleted.” Gray v. Maryland, 523 U.S. 185, 196–97 (1998).

18          In United States v. Parks, 285 F.3d 1133 (9th Cir. 2002), the Ninth Circuit held that the

19   trial court erred in admitting an improperly redacted confession which included the term “they” in

20   various places from which the jury could infer the existence of a third accomplice. Parks and co-

21   defendant Williams were tried and convicted of bank robbery committed by three individuals. Co-

22   defendant Williams gave a statement to the FBI which was admitted in redacted form at trial.

23   Williams confessed to the robbery and stated Parks was the individual who collected the money

24   inside the bank. Although all portions of the statement in which Williams made any reference to

25   Parks or the two of them acting together were redacted, two sentences contained the word “they,”

26   indicating at least two other individuals were involved other than Williams. The Ninth Circuit

27   found that the jury would naturally conclude that Parks was the name redacted from the confession.

28   “The combination of an obviously redacted statement with the language implying the existence of
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 1   a third person reasonably could leave the jury to conclude that the unnamed third person must be

 2   the co-defendant before them.” Id. at 1139. The court held that admission of Williams’ redacted

 3   statement was error. However, after an exhaustive review of the record it determined that the error

 4   was harmless beyond a reasonable doubt because there was substantial evidence of Parks’ guilt.

 5   Id. at 1139–40.

 6          D.      Antagonistic Defenses

 7          Antagonistic defenses, “or the desire of one defendant to exculpate himself by inculpating

 8   a co-defendant,” is not sufficient to require severance. United States v. Throckmorton, 87 F.3d

 9   1069, 1072 (9th Cir. 1996) (citing United States v. Sherlock, 962 F.2d 1349, 1363 (9th Cir. 1992)).

10   A defendant will only be entitled to severance based on mutually antagonistic defenses if “the core

11   of the co-defendant’s defense is so irreconcilable with the core of his own defense that the

12   acceptance of the co-defendant’s theory by the jury precludes acquittal of the defendant.” United

13   States v. Cruz, 127 F.3d 791, 799 (9th Cir. 1997) (quoting Throckmorton, 87 F.3d at 1072); see

14   also United States v. Tootick, 952 F.2d 1078, 1081 (9th Cir. 1991) (mutually exclusive defenses

15   said to exist when acquittal of one co-defendant would necessarily call for the conviction of the

16   other); United States v. Hernandez, 952 F.2d 1110, 1116 (9th Cir. 1991) (to obtain severance on

17   basis of antagonistic defenses, defendant must show that acceptance of one party’s defense will

18   preclude acquittal of the other party). The district court may also “reduce any potential confusion

19   between the defendants by instructing the jury that it should evaluate the evidence against each

20   defendant separately and that the verdict as to one defendant should not control the verdicts of the

21   others.” Id. at 800 (citing Zafiro, 506 U.S. at 540–41).

22          E.      Severance for Favorable Testimony from Co-Defendants

23          A defendant who moves for severance to obtain favorable testimony from a co-defendant

24   must show the following: (1) he would call the co-defendant at the severed trial; (2) that the co-

25   defendant would in fact testify; and (3) that the testimony would be favorable to him. United

26   States v. Jenkins, 785 F.2d 1387, 1393–94 (9th Cir. 1986) (citing United States v. Seifert, 648 F.2d

27   557, 563 (9th Cir. 1980)); see also United States v. Mayo, 646 F.2d 369, 374 (9th Cir. 1981). The

28   district court then must consider “the weight and credibility of the proposed testimony and the
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 1   economy of severance.” United States v. Castro, 887 F.2d 988, 998 (9th Cir. 1989). It is

 2   insufficient to state that a co-defendant “likely” would offer exculpatory testimony at a separate

 3   trial. Id. Additionally, it is well settled that “a defendant has no absolute right to elicit testimony

 4   from any witness, co-defendant or not, whom he may desire.” Gay, 567 F.2d at 919; United States

 5   v. Roberts, 503 F.2d 598, 600 (9th Cir. 1974). Any witness may invoke his Fifth Amendment

 6   privilege against self-incrimination and refuse to testify. Gay, 567 F.2d at 919.

 7           F.      Severance for Judicial Economy

 8           A number of circuit courts of appeal, including the Ninth Circuit, have recognized that the

 9   district court has broad discretion to organize the size of its cases in the interest of judicial economy

10   and case management. See, e.g., United States v. Kennedy, 564 F.2d 1329, 1334 (9th Cir. 1997);

11   United States v. Casamento, 887 F.2d 1141, 1151–53 (2nd Cir. 1989); United States v. Moya-

12   Gomez, 860 F.2d 706, 754 (7th Cir. 1988). Many district courts have recognized the court’s

13   inherent authority to manage its case load and to sever in the interest of efficient administration of

14   justice and judicial economy. See, e.g., United States v. Mancuso, 130 F.R.D. 128 (D. Nev. 1990);

15   United States v. Gallo, 668 F. Supp. 736, 754–58 (E.D.N.Y. 1987), aff’d 863 F.2d 185 (2nd Cir.

16   1988), cert. denied, 489 U.S. 1083 (1989).

17           In Mancuso, 130 F.R.D. 128, Judge Reed recognized the general rule that defendants

18   jointly indicted should ordinarily be tried together, and that co-conspirators in a conspiracy case

19   should ordinarily be tried together. Id. at 130–31. However, his decision thoughtfully reviewed

20   and considered the difficulties of a joint trial in a complex multi-defendant case. The decision

21   pointed out that a complex multi-defendant case is “fraught with problems.” Id. at 131. He

22   recognized that a single trial of a complex multi-defendant case imposes enormous burdens on the

23   defendants, defense counsel, prosecutors, jurors, the court, and the judge. Id. Dozens of people

24   are required to be in court every day. Id. Therefore, the absence of any one person may bring the

25   entire trial to a screeching halt. Id. Complex multi-defendant cases involve reconciling the

26   individual calendars of the prosecutors and each defense attorney with the court’s docket. Id.

27   Attorneys carrying a full case load have conflicts with other trials, and the longer the case lingers,

28   the more pronounced these conflicts become. Id. Judge Reed noted that a lengthy trial of multiple
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 1   defendants creates a unique hardship on each party involved. Jurors spend months away from their

 2   daily lives, defendants are required to endure months of pretrial incarceration before their case is

 3   finally adjudicated, and often significant amounts of time-consuming evidence are presented

 4   which are unrelated to a particular defendant. Id. Attorneys are unable to spend significant time

 5   on their remaining cases. Id. The court is forced to expend an exorbitant amount of time on a

 6   single case, and other litigants must “queue up for the remaining courtrooms.” Id. The result is a

 7   strain on the court’s docket and unconscionable delays of all other cases. Id.

 8            Mancuso also recognized the personal strain on the trial judge in a long complex case. The

 9   trial court is required to make rulings as issues come up which often require frequent adjournments

10   necessitated by unavoidable problems associated with multiple jurors, multiple defendants, and

11   their counsel as well as the witnesses and courtroom personnel who are required to be present at

12   all times. Id.

13      II.      Analysis & Decision

14            The court’s case management order set an early deadline for filing motions to sever

15   because, at the case management conference conducted on April 22, 2016, counsel for Dave Bundy

16   stated he would be filing a motion to sever on behalf of his client. An early deadline was set so

17   that the court could evaluate if there was some consensus among the defendants concerning

18   severance. There was not. In their motions to sever, the defendants argued that the deadline for

19   filing motions to sever was premature because voluminous discovery had been produced by the

20   government shortly before the deadline for filing the motions. Virtually all of the defendants’

21   motions to sever indicated they needed time to review the discovery to provide more specific

22   support for their request to sever. Almost all of the defendants asked for leave to supplement their

23   motions to sever after an adequate time to review discovery. As a result, the court held off deciding

24   the motions to sever the defendants filed.

25            On November 13, 2016, the government filed what it called a “supplement” to its responses

26   to defendants’ motions to sever, and its own motion to sever the defendants into three tiers for

27   trial. See ECF No. 971. The government’s supplement and motion to sever was filed shortly after

28   the acquittal of the defendants who were also charged in the Oregon prosecution. It is clear to the
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 1   court this is no coincidence. Clearly, the government expected a different result. Clearly, the

 2   government believed that a different outcome of some or all of the Oregon defendants’ case would

 3   prompt non-trial dispositions in this case. The government’s motion was not timely filed. Payne

 4   and counsel for other co-defendants correctly point out that the case management order required

 5   the government to comply with the same deadline for filing motions to sever as the defendants.

 6   However, virtually all of the defendants stated they were unable to support their motions to sever

 7   by the initial deadline because they had not had an adequate opportunity to review the discovery.

 8   Virtually all of the defendants asked for leave to supplement their motions to sever after reviewing

 9   the government’s voluminous discovery. All of the defendants have now had more than six months

10   to review discovery in this case, yet none of the defendants have supplemented their motions with

11   any specific support for severance based on Bruton concerns, or antagonistic or mutually exclusive

12   defenses. None of the defendants have met their burden of establishing that they would call a co-

13   defendant in a severed trial, that a co-defendant would in fact testify, and that co-defendant’s

14   testimony would be favorable.

15          The defendants are also correct that the government has changed its position regarding

16   severance. In opposing the defendants’ motions to sever, the government argued that all 19

17   defendants were appropriately joined for trial and had not shown that a joint trial would be

18   manifestly prejudicial. The government’s responses to the various defense motions argued that

19   this was a conspiracy case, and therefore the paradigm case for a joint trial. The government’s

20   responses also argued that the defendants had not met their burden of establishing that any Bruton

21   issues, mutually exclusive defenses, or antagonistic defenses precluded a joint trial. Similarly, the

22   government argued that none of the defendants had met their burden of establishing that any co-

23   defendant would testify in a severed trial. The government now argues that joinder of all of the

24   defendants was and is still appropriate and has resulted in efficiently getting this case ready for

25   trial. However, the government now argues that a 17-defendant trial would be too unwieldly. The

26   government asks that the court sever the trial into three groups in the interests of judicial economy

27   and efficient case management. The three tiers suggested correspond to what the government

28   believes the individual defendants’ roles in the offenses charged in the indictment were. The three
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 1   groups are: Tier 1 – Cliven Bundy, Ryan Bundy, Ammon Bundy, Peter Santilli, and Ryan Payne;

 2   Tier 2 – Dave Bundy, Mel Bundy, Joseph O’Shaughnessy, Brian Cavalier, Jason Woods, and

 3   Micah McGuire; and Tier 3 – Richard Lovelien, Todd Engel, Gregory Burleson, Eric Parker, O.

 4   Scott Drexler, and Steven Stewart.

 5           The defendants have also changed their positions with respect to severance. The majority

 6   of the defendants filed motions to sever requesting individual trials. Ammon Bundy and Ryan

 7   Bundy argued that all of the Bundy brothers should be tried together. Mel Bundy initially indicated

 8   he was not willing to be tried with his other brothers. Now that the government is seeking a

 9   severance of this case into three separate trials, the majority of the defendants now want a joint

10   trial. Because the court has already indicated that severance will be ordered, the majority of the

11   defendants want to be tried first. A number of defendants who had previously asked to be severed

12   and tried individually now take the position that being tried on February 6, 2017, outweighs their

13   desire to be severed. Those defendants are Eric Parker, Richard Lovelien, Steven Stewart, Joseph

14   O’Shaughnessy, Micah McGuire, and Jason Woods. Some of the defendants are amenable to

15   going to trial with any group of co-defendants as long as they are in the first group set for trial.

16           In light of the court’s indication that the trial would be severed, Ammon and Ryan Bundy

17   requested in their supplements that they be moved to a later group for trial because they have

18   recently returned from defending themselves in Oregon. Brothers Mel Bundy and Dave Bundy

19   want to go to trial first.

20           Cliven Bundy initially asked the court to sever his case from the trial of all of his co-

21   defendants. His response to the government’s motion to supplement now states the opposite. He

22   now seeks a joint trial. His response to the government’s proposal argues it is the responsibility

23   of the court to ensure a venue for a joint trial of all 17 defendants. He asks the court to prove it is

24   not logistically possible to try all 17 defendants in a joint trial. However, if the court is not going

25   to hold a joint trial, he asks that he be severed and tried last. During oral argument on December

26   9, 2016, counsel for Bundy stated that he was requesting to go last if any severance was ordered

27   because he expects the defendants will be acquitted and he did not want his co-defendants and

28   their families and loved ones to undergo the hardship of waiting for trial.
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 1           During oral argument on December 9, 2016, counsel for the government argued that the

 2   government’s proposal was the most logical, would result in judicial economy, and conserve

 3   resources. The court inquired of counsel for the government why it would be fair to make the

 4   defendants in its proposed Tier 3 wait the longest for trial when these were the individuals the

 5   government regarded as least culpable. Counsel for the government responded that the sequence

 6   of the trial suggested would, in counsel’s view, be most logical and conserve resources because

 7   trying the Tier 1 leaders and organizers first would give the court an overview of the entire case.

 8   Additionally, trying the Tier 1 defendants first would likely resolve a number of legal issues that

 9   could be applied to the defendants awaiting trial. The court inquired whether it made more sense

10   to try the Tier 3 defendants first as the evidence in that case would be narrower than the evidence

11   introduced in the trial of the Tier 1 and Tier 2 defendants. The government responded that it was

12   not “wed” to the sequence of the trials. However, government counsel believed trying the Tier 1

13   defendants first would be most efficient and conserve the most resources.

14           The court also inquired whether two trials, rather than three trials, would be more efficient.

15   The government responded that it would, of course, try the case in the manner in which the court

16   determined the case should be severed. However, the government believed that a joint trial of the

17   Tier 1 and Tier 2 defendants would be cumbersome and involve a large number of limiting

18   instructions that the jury might find confusing.

19           The court will order severance in the interests of judicial economy and efficient case

20   management. The court finds that three trials in the groupings proposed by the government is the

21   most logical and will result in the most efficient manner of trying the 17 defendants awaiting trial

22   in this case. However, the court disagrees with the government that it would be less fair to try the

23   least culpable defendants first. The court will order that the Tier 3 defendants be tried first. These

24   are the defendants the government contends are the least culpable of the 3 groups of defendants.

25   In the absence of any compelling reasons for trying Tier 1 or Tier 2 defendants earlier, it seems

26   more fair to try the Tier 3 defendants first. The trial of the Tier 3 defendants will likely be a shorter

27   trial than the trial of either the Tier 1 or Tier 2 defendants. These defendants are primarily involved

28   with the events on April 12, 2014. They are not alleged to be involved in the broader overall
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 1   conspiracy, or events before or after April 12, 2014. Trial of the Tier 3 defendants will focus on

 2   their individual positions and involvement in the events on April 12, 2014. Evidence of the

 3   involvement and actions of those the government alleges are the leaders and organizers of the

 4   conspiracy can be presented in more summary fashion in a trial of the Tier 3 defendants.

 5                                               CONCLUSION

 6          Having reviewed and considered all of the moving and responsive papers in connection

 7   with the severance issue, the court agrees that the most logical, efficient, and manageable way to

 8   try this case is to separate the defendants into three groups corresponding to their alleged roles in

 9   the offenses charged in the superseding indictment.

10          IT IS ORDERED that:

11          1. The trial of the 17 defendants awaiting trial shall be severed into three groups for three

12              separate trials consisting of:

13                  a. Tier 1: Cliven Bundy, Ryan Bundy, Ammon Bundy, Peter Santilli, and Ryan

14                      Payne;

15                  b. Tier 2: Dave Bundy, Mel Bundy, Joseph O’Shaughnessy, Brian Cavalier, Jason

16                      Woods, and Micah McGuire; and

17                  c. Tier 3: Richard Lovelien, Todd Engel, Gregory Burleson, Eric Parker, O. Scott

18                      Drexler, and Steven Stewart.

19          2. The Tier 3 defendants will proceed to trial February 6, 2017.

20          3. The Tier 1 defendants will proceed to trial 30 days after the conclusion of the trial of

21              the Tier 3 defendants.

22          4. The Tier 2 defendants will proceed to trial 30 days after the conclusion of the trial of

23              the Tier 1 defendants.

24          5. All pending severance motions, responses, replies, supplements and joinders are

25              terminated.

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 1       6. Any specific request for relief not addressed in this order is denied.

 2       DATED this 12th day of December, 2016.
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 4
                                                       PEGGY A. LEEN
 5                                                     UNITED STATES MAGISTRATE JUDGE
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